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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            Case No. 1:23-cr-20118

v.                                                           Honorable Thomas L. Ludington
                                                             United States District Judge
BRODY MILLER,
                                                             Honorable Patricia T. Morris
                  Defendant.                                 United States Magistrate Judge
________________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING GUILTY
       PLEA, AND TAKING RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

        On September 28, 2023, Magistrate Judge Patricia T. Morris issued a report recommending

the acceptance of Defendant Brody Miller’s guilty plea. ECF No. 25. Judge Morris gave the Parties

14 days to object, but they did not do so. They have therefore forfeited their right to appeal Judge

Morris’s findings that Defendant was competent to enter a plea and did so knowingly, voluntarily,

and with a basis in fact. See FED. R. CRIM. P. 11(b); Berkshire v. Dahl, 928 F.3d 520, 530–31 (6th

Cir. 2019) (citing Thomas v. Arn, 474 U.S. 140, 149 (1985)).

        Accordingly, it is ORDERED that Judge Morris’s Report and Recommendation, ECF No.

25, is ADOPTED.

        Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and that the Rule

11 Plea Agreement, ECF No. 22, is TAKEN UNDER ADVISEMENT.


        Dated: October 12, 2023                              s/Thomas L. Ludington
                                                             THOMAS L. LUDINGTON
                                                             United States District Judge
